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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                                Case No.: 19-cv-00137
        Plaintiffs,
                                                                Judge Rebecca R. Pallmeyer
v.
                                                                Magistrate Judge Jeffrey T. Gilbert
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                      NO.                        DEFENDANT
                       75                       beautyclothes888
                       69                            au-buy
                      191                            pavalia
                      220                          siafortstore
                      165                             kittom
                       80                            bizbest
                      234                            ursuper
                      147                           homefond
                      117                       ehome_store2016
                      126                         fiveseason88


DATED: March 8, 2019                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
                                                     Telephone: 708-203-4787
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
   Case: 1:19-cv-00137 Document #: 26 Filed: 03/08/19 Page 2 of 2 PageID #:5247



                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 8, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt




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